                   IN THE UNITED STATES DISTRICT COURT
               FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           CHARLOTTE DIVISION

UNITED STATES OF AMERICA                            )
                                                    )          Case No.: 3:07-CR-61-FDW-18
       Plaintiff,                                   )
                                                    )
v.                                                  )
                                                    )
CLIFTON VANDIVER,                                   )          ORDER
                                                    )
       Defendant.                                   )


       This matter is before the Court upon the Defendant’s Unopposed Motion for

Amended Judgment under the First Step Act of 2018. The government, through AUSA

Amy E. Ray, has consented to the requested relief. For the reasons stated in the unopposed

motion, the Court will grant the motion.

       IT IS THEREFORE ORDERED that the Defendant’s sentence be reduced to Time

Served, plus up to ten (10) days for the BOP to process his release, and that the term of

supervised release be reduced to eight years. All other terms and conditions previously

imposed will remain the same.

       IT IS FURTHER ORDERED that the Clerk certify copies of this Order to the

Defendant, counsel for the Defendant, the United States Attorney, the United States

Marshals Service, the United States Probation Office, and the United States Bureau of

Prisons.

                                   Signed: February 13, 2019




                                               1

     Case 3:07-cr-00061-FDW-DCK         Document 797            Filed 02/13/19   Page 1 of 1
